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                             EXHIBIT 7
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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

JODI C. MAHDAVI,

                        Plaintiff,


                v.                                           Civil Action No.

NEXTGEAR CAPITAL, INC.,

and

P.A.R. SERVICES, INC.

                        Defendants.

                             AFFIDAVIT OF JAMES D. BRAGDON

        I, James D. Bragdon, being over the age of 18 and competent to testify to the matters

contained in this affidavit, state as follows:

        1.      On June 11, 2014, I conducted internet searches for BMW 650i cars for sale.

        2.      I located a white 2013 BMW 650i for sale online through Mercedes Benz of

Annapolis. The website is http://www.mercedesofannapolis.com/used/2013/BMW/650i/2013-

BMW-650i--Annapolis-for-sale-WBAYP9C57DDW21242. I printed the website, and a true an

accurate copy of the website I viewed is attached to NextGear's Opposition as Exhibit 4.

        3.      I located thirty-three white 2013 BMW 650i for sale online through carguruscom.

The website is http://www.cargurus.com/Cars/I-Used-2013-BMW-6-Series-650i-

t43478#resultsPage=1. I printed the website, and a true an accurate copy of the website I viewed

is attached to NextGear's Opposition as Exhibit 5.

        4.      I located thirteen white 2013 BMW 650i for sale online through cars.com . The

website is:
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       http://www.cars.com/for-sale/searchresults.action?PMmt=1-1-
       0&alMdId=20515&alMkId=20005&crSrtFlds=stkTyNd-feedSenkId-mdId-
       pseudoYear&feedSegId=28705&isDealerGrouping=false&mdId=20515&mkId=20005&
       rd=500&requestorTrackingInfo=RTB SEARCH&rn=0&rpp=50&sflDir=DESC &sf1Nm
       =price&sf2Dir=ASC&sf2Nm=miles&stkTypId=28881&yrMn=2013&yrMx=2013&zc=2
       1230&pseudoYear =2013&clrId=27134&searchSource =GN REFINEMENT

I printed the website, and a true an accurate copy of the website I viewed is attached to

NextGear's Opposition as Exhibit 6.
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        I solemnly affil n under the penalties of perjury that the contents of the foregoing Affidavit
are true.




                                                                   ,
            June 11, 2014
        Date                            James D. Bragdon
